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 4
 5                      IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES OF AMERICA,              )
 8                                          )    2:11-cr-00054-GEB
                    Plaintiff,              )
 9                                          )
               v.                           )    RELATED CASE ORDER
10                                          )
     CHRISTOPHER JACKSON,                   )
11                                          )
                   Defendant.               )
12   ________________________________       )
13   UNITED STATES OF AMERICA,              )
                                            )    2:11-cr-00171-KJM
14                  Plaintiff,              )
                                            )
15             v.                           )
                                            )
16   GARRY BRADFORD,                        )
                                            )
17                 Defendant.               )
     ________________________________       )
18
19             On April 28, 2011, the United States of America filed a

20   “Notice of Related Cases” in which it states:

21                  The United States respectfully submits that
               the two above-captioned cases are related as
22             defined    by   Local    Rule    83-123(a)(3)[sic].
               Christopher Jackson’s Genesis Innovations, Inc. and
23             Garry Bradford’s Millenium Capital Group were part
               of the same family of investment clubs. See Garry
24             Bradford Indictment ¶ 1(c).

25                  It is likely that these actions will involve
               similar questions of fact and law, and the
26             assignment of both cases to the same Judge is
               likely to effect a substantial savings of judicial
27             effort.

28   (ECF No. 29, 1:21-28.)


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 1              Examination of the above-entitled actions reveals that they
 2   are related within the meaning of Local Rule 123. Under the regular
 3   practice of this court, related cases are generally assigned to the
 4   judge to whom the first filed action was assigned.          Therefore, action
 5   2:11-cr-00171 is reassigned to the undersigned judge for all further
 6   proceedings, and the caption on the reassigned cases shall show the
 7   initials “GEB.” Further, any dates currently set in the reassigned case
 8   are VACATED. The Clerk shall make an appropriate adjustment in the
 9   assignment of criminal cases to compensate for this reassignment.
10              IT IS FURTHER ORDERED that a Status Conference is scheduled to
11   commence at 9:00 a.m. on May 13, 2011 in action 2:11-cr-00171.
12   Dated:   May 6, 2011
13
14                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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